           Case 1:19-vv-00866-UNJ Document 41 Filed 10/20/20 Page 1 of 5




    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-0866V
                                          UNPUBLISHED


    TAMMEE HINTON,                                              Chief Special Master Corcoran

                         Petitioner,                            Filed: September 18, 2020
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Influenza (Flu) Vaccine; Guillain-
                                                                Barre Syndrome (GBS)
                         Respondent.


Alison H. Haskins, Maglio Christopher & Toale, PA, Sarasota, FL, for petitioner.

Kimberly Shubert Davey, U.S. Department of Justice, Washington, DC, for respondent.


                                 DECISION AWARDING DAMAGES1

       On June 12, 2019, Tammee Hinton filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered Guillain-Barré Syndrome (“GBS”) as
the result of an adverse reaction to an October 1, 2016 influenza vaccination. Petition at
4-5. The case was assigned to the Special Processing Unit of the Office of Special
Masters.

      On May 15, 2020, a ruling on entitlement was issued, finding Petitioner entitled to
compensation for her GBS. On September 18, 2020, Respondent filed a proffer on award
of compensation (“Proffer”) indicating Petitioner should be awarded $149,410.61,
representing $142,000.00 for her actual pain and suffering and $7,410.61 for her past
unreimburseable expenses. Proffer at 1-2. In the Proffer, Respondent represented that

1
   Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
          Case 1:19-vv-00866-UNJ Document 41 Filed 10/20/20 Page 2 of 5



Petitioner agrees with the proffered award. Id. Based on the record as a whole, I find that
Petitioner is entitled to an award as stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $149,410.61, representing $142,000.00 for her actual pain and
suffering and $7,410.61 for her actual unreimburseable expenses in the form of a
check payable to Petitioner. This amount represents compensation for all damages that
would be available under § 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                    2
            Case 1:19-vv-00866-UNJ Document 41 Filed 10/20/20 Page 3 of 5




                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS


 TAMMEE HINTON,

                 Petitioner,                          No. 19-0866
                                                      Chief Special Master Corcoran
 v.                                                   ECF

 SECRETARY OF HEALTH AND
 HUMAN SERVICES,

                 Respondent.

              RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

       On June 10, 2019, Tammee Hinton (petitioner) filed a petition for compensation under

the National Childhood Vaccine Injury Act of 1986, as amended (“the Vaccine Act” or “the

Act”), 42 U.S.C. §§ 300aa-1 to -34. Petitioner alleged that she suffered Guillain-Barré

syndrome (“GBS”) as a result of an influenza (“flu”) vaccine administered to her on October 1,

2016. Petition at 1. On May 13, 2020, the Secretary of Health and Human Services

(“respondent”) filed a Rule 4(c) Report recommending that compensation be awarded, and the

Chief Special Master issued a Ruling on Entitlement finding petitioner entitled to compensation

the following day. ECF No. 21; ECF No. 22.

I.     Items of Compensation

       A.       Pain and Suffering

       Respondent proffers that petitioner should be awarded $142,000.00 in actual pain and

suffering. See 42 U.S.C. § 300aa-15(a)(4). Petitioner agrees.

       B.       Past Unreimbursable Expenses

       Evidence supplied by petitioner documents her expenditure for past unreimbursable

expenses related to her vaccine-related injury. Respondent proffers that petitioner should be
          Case 1:19-vv-00866-UNJ Document 41 Filed 10/20/20 Page 4 of 5




awarded past unreimbursable expenses in the amount of $7,410.61, as provided under the

Vaccine Act, 42 U.S.C. § 300aa-15(a)(1)(B). Petitioner agrees.

II.    Form of the Award

       Petitioner is a competent adult. Evidence of guardianship is not required in this case.

Respondent recommends that the compensation provided to petitioner should be made through a

lump sum payment as described below and requests that the Chief Special Master’s decision and

the Court’s judgment award the following 1: a lump sum payment of $149,410.61, representing

compensation for actual pain and suffering ($142,000.00), and past unreimbursable expenses

($7,410.61), in the form of a check payable to petitioner, Tammee Hinton.

III.   Summary of Recommended Payments Following Judgment

       Lump sum payable to petitioner, Tammee Hinton:                                $ 149,410.61

                                                      Respectfully submitted,

                                                      JEFFREY BOSSERT CLARK
                                                      Acting Assistant Attorney General

                                                      C. SALVATORE D’ALESSIO
                                                      Acting Director
                                                      Torts Branch, Civil Division

                                                      CATHARINE E. REEVES
                                                      Deputy Director
                                                      Torts Branch, Civil Division

                                                      DARRYL R. WISHARD
                                                      Assistant Director
                                                      Torts Branch, Civil Division




1
  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future lost earnings
and future pain and suffering.
                                                 2
        Case 1:19-vv-00866-UNJ Document 41 Filed 10/20/20 Page 5 of 5




                                          /s/ Kimberly S. Davey
                                          KIMBERLY S. DAVEY
                                          Trial Attorney
                                          Torts Branch, Civil Division
                                          U.S. Department of Justice
                                          P.O. Box 146
                                          Benjamin Franklin Station
                                          Washington, D.C. 20044-0146
                                          Tel: (202) 307-1815
                                          Kimberly.Davey@usdoj.gov
DATED: September 18, 2020




                                      3
